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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                100383800                                 Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:      July 11, 1986                             Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17106340551                               FEIN:
 Duration:                     Perpetual
 Name:                         FRIENDSHIP CABLE OF ARKANSAS, INC.
 Address:                      1 COURT SQUARE WEST 33RD FLOOR TAX DE
                               LONG ISLAND CITY, NY 11101 USA

                                                                                                           ASSOCIATED
   REGISTERED AGENT       FILING HISTORY          NAMES            MANAGEMENT       ASSUMED NAMES           ENTITIES         INITIAL ADDRESS

   Name                                                                                       Address                          Inactive Date
   Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company                211 E. 7th Street, Suite 620
                                                                                              Austin, TX 78701-3136 USA


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                                                                                                  ENTITY


TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                          BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                 100383800                               Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:       July 11, 1986                           Entity Status: In existence
 Formation Date:                N/A
 Tax ID:                        17106340551                             FEIN:
 Duration:                      Perpetual
 Name:                          FRIENDSHIP CABLE OF ARKANSAS, INC.
 Address:                       1 COURT SQUARE WEST 33RD FLOOR TAX DE
                                LONG ISLAND CITY, NY 11101 USA

                                                                                                          ASSOCIATED
   REGISTERED AGENT        FILING HISTORY               NAMES      MANAGEMENT       ASSUMED NAMES          ENTITIES        INITIAL ADDRESS

   View     Document                                                                                                     Eff.      Page
   Image    Number          Filing Type                                  Filing Date             Effective Date          Cond      Count
            5706103         Articles Of Incorporation                    July 11, 1986           July 11, 1986           No        6
             5706104        Change Of Registered Agent/Office            August 7, 1986          August 7, 1986           No       1
             5706106        Change Of Registered Agent/Office            August 17, 1995         August 17, 1995          No       1
             5706107        Change Of Registered Agent/Office            October 7, 1996         October 7, 1996          No       1
             5706108        Articles Of Merger                           December 29, 1998       December 29, 1998        No       11
             5706109        Assumed Name Certificate                     August 25, 1999         August 25, 1999          No       1
             5706110        Change Of Registered Agent/Office            August 25, 1999         August 25, 1999          No       1
             4739500008     Change of Registered Agent/Office            December 11, 2001       December 11, 2001        No       1
             27302030001    Public Information Report (PIR)              December 31, 2002       February 18, 2003        No       1
             23460780002    Articles of Amendment                        January 16, 2003        January 16, 2003         No       2
             26831430002    Certificate of Assumed Business Name         February 12, 2003       February 12, 2003        No       3
             26831250002    Certificate of Assumed Business Name         February 12, 2003       February 12, 2003        No       3
             26831340002    Certificate of Assumed Business Name         February 12, 2003       February 12, 2003        No       3
             42086850002    Change of Registered Agent/Office            September 18, 2003      September 18, 2003       No       2
             42086850006    Certificate of Assumed Business Name         September 18, 2003      September 18, 2003       No       2
             42086850005    Certificate of Assumed Business Name         September 18, 2003      September 18, 2003       No       2
             42086850004    Certificate of Assumed Business Name         September 18, 2003      September 18, 2003       No       2
             42086850003    Certificate of Assumed Business Name         September 18, 2003      September 18, 2003       No       2
             46616090003    Certificate of Assumed Business Name         October 31, 2003        October 31, 2003         No       2
             79615000001    Public Information Report (PIR)              December 31, 2004       January 13, 2005         No       2
             86562710001    Public Information Report (PIR)              December 31, 2004       March 27, 2005           No       2
             128696150006 Certificate of Assumed Business Name           May 5, 2006             May 5, 2006              No       2
             168017310001 Public Information Report (PIR)                December 31, 2006       April 24, 2007           No       3
             233935640007 Public Information Report (PIR)                December 31, 2007       December 31, 2007        No       2
             304538400965 Change of Name or Address by Registered Agent April 19, 2010           April 19, 2010           No       1
             440031570001 Public Information Report (PIR)                December 31, 2012       August 24, 2012          No       24
             496191490004 Certificate of Assumed Business Name           August 20, 2013         August 20, 2013          No       2
             518678949239 Change of Name or Address by Registered Agent December 2, 2013         December 2, 2013         No       1
             506852180001 Public Information Report (PIR)                December 31, 2013       October 1, 2013          No       25
             607136630001 Public Information Report (PIR)                December 31, 2014       May 18, 2015             No       3
             662280670001 Public Information Report (PIR)                December 31, 2015       March 23, 2016           No       4
             653139740001 Public Information Report (PIR)                December 31, 2015       January 31, 2016         No       4
             654540140009 Certificate of Assumed Business Name           February 3, 2016        February 3, 2016         No       2
             729602440001 Public Information Report (PIR)                December 31, 2016       April 20, 2017           No       2
             710020450002 Change of Registered Agent/Office              January 23, 2017        January 23, 2017         No       2
             785271450001 Public Information Report (PIR)                December 31, 2017       December 30, 2017        No       2


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             876066750001 Public Information Report (PIR)                December 31, 2018       March 21, 2019           No       2


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                100383800                                Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:      July 11, 1986                            Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17106340551                              FEIN:
 Duration:                     Perpetual
 Name:                         FRIENDSHIP CABLE OF ARKANSAS, INC.
 Address:                      1 COURT SQUARE WEST 33RD FLOOR TAX DE
                               LONG ISLAND CITY, NY 11101 USA

                                                                                                          ASSOCIATED
   REGISTERED AGENT       FILING HISTORY          NAMES             MANAGEMENT     ASSUMED NAMES           ENTITIES        INITIAL ADDRESS

   Last Update              Name                              Title                       Address
   March 21, 2019           LISA ROSENBLUM                    DIRECTOR                    ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DEXTER GOEI                        CHAIRMAN                   ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DEXTER GOEI                        CHIEF EXECUTIVE            ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                               OFFICER                    LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           ABDELHAKIM BOUBAZINE               DIRECTOR                   ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           ABDELHAKIM BOUBAZINE               CO                         ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           ABDELHAKIM BOUBAZINE               PRESIDENT                  ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           ABDELHAKIM BOUBAZINE               CHIEF OPERATING            ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                               OFFICER                    LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           CHARLES STEWART                    DIRECTOR                   ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           CHARLES STEWART                    CO                         ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           CHARLES STEWART                    PRESIDENT                  ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           CHARLES STEWART                    CHIEF FINANCIAL OFFICER ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                       LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DAVID CONNOLLY                     EXECUTIVE VICE             ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                               PRESIDENT                  LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DAVID CONNOLLY                     GENERAL COUNSEL            ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DAVID CONNOLLY                     SECRETARY                  ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           VICTORIA MINK                      SENIOR VICE PRESIDENT      ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           VICTORIA MINK                      CHIEF ACCOUNTING OFF       ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           MICHAEL A PFLANTZ                  SENIOR VICE PRESIDENT      ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           MICHAEL A PFLANTZ                  TREASURER                  ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           MICHAEL A PFLANTZ                  RISK MANAGEMENT            ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DAVID PREBUT                       SENIOR VICE PRESIDENT      ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   March 21, 2019           DAVID PREBUT                       TAX                        ONE COURT SQUARE W, 33RD FLOOR TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                 100383800                                Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:       July 11, 1986                            Entity Status: In existence
 Formation Date:                N/A
 Tax ID:                        17106340551                              FEIN:
 Duration:                      Perpetual
 Name:                          FRIENDSHIP CABLE OF ARKANSAS, INC.
 Address:                       1 COURT SQUARE WEST 33RD FLOOR TAX DE
                                LONG ISLAND CITY, NY 11101 USA

                                                                                                             ASSOCIATED
   REGISTERED AGENT         FILING HISTORY        NAMES           MANAGEMENT           ASSUMED NAMES          ENTITIES      INITIAL ADDRESS

                                                                                                             Name
   Assumed Name                              Date of Filing       Expiration Date       Inactive Date        Status    Counties
   CLASSIC CABLE                             August 25, 1999      August 25, 2009       August 25, 2009      Expired   All Counties
   Correctional Cable                        February 12, 2003    February 12, 2013     February 12, 2013    Expired   All Counties
   Cable Network Advertising                 February 12, 2003    February 12, 2013     February 12, 2013    Expired   All Counties
   Classic Communications                    February 12, 2003    February 12, 2013     February 12, 2013    Expired   All Counties
   Cable Network Advertising                 September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Correctional Cable                        September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Classic Cable                             September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Classic Communications                    September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Cebridge Connections                      October 31, 2003     October 31, 2013      October 31, 2013     Expired   All Counties
   Suddenlink Communications                 May 5, 2006          May 5, 2016           May 5, 2016          Expired   All Counties
   Correctional Cable                        August 20, 2013      August 20, 2023                            Active    All Counties
   Suddenlink Communications                 February 3, 2016     February 3, 2026                           Active    All Counties


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                100383800                                  Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:      July 11, 1986                              Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17106340551                                FEIN:
 Duration:                     Perpetual
 Name:                         FRIENDSHIP CABLE OF ARKANSAS, INC.
 Address:                      1 COURT SQUARE WEST 33RD FLOOR TAX DE
                               LONG ISLAND CITY, NY 11101 USA

                                                                                                          ASSOCIATED
   REGISTERED AGENT       FILING HISTORY          NAMES               MANAGEMENT     ASSUMED NAMES         ENTITIES        INITIAL ADDRESS

                                                        Document                         Entity Filing
   Name                           Entity Type           Description        Filing Date   Number            Jurisdiction             Capacity
   FRIENDSHIP CABLE OF            Domestic For-Profit                                    110307000                                  Non-
   MISSOURI, INC.                 Corporation                                                                                       Survivor


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                108281500                                 Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:      July 12, 1988                             Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17522375835                               FEIN:
 Duration:                     Perpetual
 Name:                         FRIENDSHIP CABLE OF TEXAS, INC.
 Address:                      1 COURT SQ W FL 48 C/O TAX DEPT
                               LONG ISLAND, NY 11101 USA

                                                                                                           ASSOCIATED
   REGISTERED AGENT       FILING HISTORY          NAMES            MANAGEMENT        ASSUMED NAMES          ENTITIES         INITIAL ADDRESS

   Name                                                                                       Address                          Inactive Date
   Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company                211 E. 7th Street, Suite 620
                                                                                              Austin, TX 78701-3136 USA


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                           BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                 108281500                                Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:       July 12, 1988                            Entity Status: In existence
 Formation Date:                N/A
 Tax ID:                        17522375835                              FEIN:
 Duration:                      Perpetual
 Name:                           FRIENDSHIP CABLE OF TEXAS, INC.
 Address:                        1 COURT SQ W FL 48 C/O TAX DEPT
                                 LONG ISLAND, NY 11101 USA

                                                                                                          ASSOCIATED
   REGISTERED AGENT         FILING HISTORY               NAMES       MANAGEMENT      ASSUMED NAMES         ENTITIES        INITIAL ADDRESS

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            5924459          Articles Of Incorporation                    July 12, 1988          July 12, 1988            No       5
             5924460          Articles Of Amendment                       July 21, 1988           July 21, 1988           No       2
             5924461          Change Of Registered Agent/Office           July 13, 1990           July 13, 1990           No       1
             5924462          Change Of Registered Agent/Office           October 25, 1993        October 25, 1993        No       1
             5924463          Change Of Registered Agent/Office           October 7, 1996         October 7, 1996         No       1
             5924464          Articles Of Merger                          December 29, 1998       December 29, 1998       No       10
             5924465          Assumed Name Certificate                    July 27, 1999           July 27, 1999           No       2
             5924466          Assumed Name Certificate                    August 25, 1999         August 25, 1999         No       1
             5924467          Change Of Registered Agent/Office           August 25, 1999         August 25, 1999         No       1
             5924468          Assumed Name Certificate                    June 30, 2000           June 30, 2000           No       1
             4739500007       Change of Registered Agent/Office           December 11, 2001       December 11, 2001       No       1
             27138160001      Public Information Report (PIR)             December 31, 2002       February 15, 2003       No       1
             24474160001      Articles of Merger                          January 16, 2003        January 16, 2003        No       3
             24474490001      Articles of Merger                          January 16, 2003        January 16, 2003        No       4
             26831530002      Certificate of Assumed Business Name        February 12, 2003       February 12, 2003       No       3
             26831620002      Certificate of Assumed Business Name        February 12, 2003       February 12, 2003       No       3
             42088750002      Change of Registered Agent/Office           September 18, 2003      September 18, 2003      No       2
             42088750006      Certificate of Assumed Business Name        September 18, 2003      September 18, 2003      No       2
             42088750005      Certificate of Assumed Business Name        September 18, 2003      September 18, 2003      No       2
             42088750004      Certificate of Assumed Business Name        September 18, 2003      September 18, 2003      No       2
             42088750003      Certificate of Assumed Business Name        September 18, 2003      September 18, 2003      No       2
             46616090002      Certificate of Assumed Business Name        October 31, 2003        October 31, 2003        No       2
             128696150005     Certificate of Assumed Business Name        May 5, 2006             May 5, 2006             No       2
             162812570001     Public Information Report (PIR)             December 31, 2006       March 7, 2007           No       2
             207505560001     Public Information Report (PIR)             December 31, 2007       March 9, 2008           No       2
             264987690001     Public Information Report (PIR)             December 31, 2008       July 4, 2009            No       2
             324885430001     Public Information Report (PIR)             December 31, 2009       September 1, 2010       No       1
             304538401133     Change of Name or Address by Registered     April 19, 2010          April 19, 2010          No       1
                              Agent
             462414330001     Public Information Report (PIR)             December 31, 2012       January 22, 2013        No       2
             496191490003     Certificate of Assumed Business Name        August 20, 2013         August 20, 2013         No       2
             518678949416     Change of Name or Address by Registered     December 2, 2013        December 2, 2013        No       1
                              Agent
             522749610001     Public Information Report (PIR)             December 31, 2013       January 5, 2014         No       2
             586555660001     Public Information Report (PIR)             December 31, 2014       January 14, 2015        No       1
             662281240001     Public Information Report (PIR)             December 31, 2015       March 23, 2016          No       3
             653140040001     Public Information Report (PIR)             December 31, 2015       January 31, 2016        No       3


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             654540140008    Certificate of Assumed Business Name        February 3, 2016         February 3, 2016        No       2
             729604260001    Public Information Report (PIR)             December 31, 2016        April 20, 2017          No       2
             710021960002    Change of Registered Agent/Office           January 23, 2017         January 23, 2017        No       2
             785271690001    Public Information Report (PIR)             December 31, 2017        December 30, 2017       No       2
             876066830001    Public Information Report (PIR)             December 31, 2018        March 21, 2019          No       2
             1147093040001 Public Information Report (PIR)               December 31, 2021        May 9, 2022             No       2
             1171089940007 Certificate of Assumed Business Name          August 19, 2022          August 19, 2022         No       N/A


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                108281500                                Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:      July 12, 1988                            Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17522375835                              FEIN:
 Duration:                     Perpetual
 Name:                         FRIENDSHIP CABLE OF TEXAS, INC.
 Address:                      1 COURT SQ W FL 48 C/O TAX DEPT
                               LONG ISLAND, NY 11101 USA

                                                                                                          ASSOCIATED
   REGISTERED AGENT       FILING HISTORY          NAMES           MANAGEMENT       ASSUMED NAMES           ENTITIES        INITIAL ADDRESS

   Last Update              Name                              Title                       Address
   May 9, 2022              DEXTER GOEI                       CHIEF EXECUTIVE             1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                              OFFICER                     LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              ABDELHAKIM BOUBAZINE               PRESIDENT                  1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              ABDELHAKIM BOUBAZINE               CHIEF OPERATING            1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                               OFFICER                    LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              MICHAEL GARU                       CHIEF FINANCIAL OFFICER 1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                                                       LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              KMICHAEL OLSEN                     EXECUTIVE VICE             1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                               PRESIDENT                  LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              KMICHAEL OLSEN                     SECRETARY                  1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              KMICHAEL OLSEN                     GENERAL COUNSEL            1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              COLLEEN SCHMIDT                    EXECUTIVE VICE             1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                               PRESIDENT                  LONG ISLAND CITY, NY 11101 USA
   May 9, 2022              COLLEEN SCHMIDT                    HUMAN RESOURCES            1 COURT SQUARE WEST ATTN: TAX DEPARTMENT
                                                                                          LONG ISLAND CITY, NY 11101 USA


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      Case
12/27/22,      2:23-cv-00576-JRG-RSP
          1:39 PM                                   Document  26-7
                                                        BUSINESS     Filed 01/29/24
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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                 108281500                                Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:       July 12, 1988                            Entity Status: In existence
 Formation Date:                N/A
 Tax ID:                        17522375835                              FEIN:
 Duration:                      Perpetual
 Name:                          FRIENDSHIP CABLE OF TEXAS, INC.
 Address:                       1 COURT SQ W FL 48 C/O TAX DEPT
                                LONG ISLAND, NY 11101 USA

                                                                                                             ASSOCIATED
   REGISTERED AGENT         FILING HISTORY         NAMES          MANAGEMENT           ASSUMED NAMES          ENTITIES      INITIAL ADDRESS

                                                                                                             Name
   Assumed Name                              Date of Filing       Expiration Date       Inactive Date        Status    Counties
   FRIENDSHIP CABLE                          July 27, 1999        July 27, 2009         July 27, 2009        Expired   All Counties
   CLASSIC CABLE                             August 25, 1999      August 25, 2009       August 25, 2009      Expired   All Counties
   CLASSIC COMMUNICATIONS                    June 30, 2000        June 30, 2010         June 30, 2010        Expired   All Counties
   Cable Network Advertising                 February 12, 2003    February 12, 2013     February 12, 2013    Expired   All Counties
   Correctional Cable                        February 12, 2003    February 12, 2013     February 12, 2013    Expired   All Counties
   Cable Network Advertising                 September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Correctional Cable                        September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Classic Communications                    September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Classic Cable                             September 18, 2003   September 18, 2013    September 18, 2013   Expired   All Counties
   Cebridge Connections                      October 31, 2003     October 31, 2013      October 31, 2013     Expired   All Counties
   Suddenlink Communications                 May 5, 2006          May 5, 2016           May 5, 2016          Expired   All Counties
   Correctional Cable                        August 20, 2013      August 20, 2023                            Active    All Counties
   Suddenlink Communications                 February 3, 2016     February 3, 2026                           Active    All Counties
   Optimum                                   August 19, 2022      August 19, 2032                            Active    All Counties


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      Case
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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                108281500                                   Entity Type:   Domestic For-Profit Corporation
 Original Date of Filing:      July 12, 1988                               Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17522375835                                 FEIN:
 Duration:                     Perpetual
 Name:                         FRIENDSHIP CABLE OF TEXAS, INC.
 Address:                      1 COURT SQ W FL 48 C/O TAX DEPT
                               LONG ISLAND, NY 11101 USA

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                                                         Document                         Entity Filing
   Name                            Entity Type           Description        Filing Date   Number           Jurisdiction             Capacity
   TELEVISION ENTERPRISES,         Domestic For-Profit                      January 16,   21631500                                  Non-
   INC.                            Corporation                              2003                                                    Survivor
   CORRECTIONAL CABLE TV,          Domestic For-Profit                      January 16,   124653400                                  Non-
   INC.                            Corporation                              2003                                                     Survivor
   CALLCOM 24, INC.                Domestic For-Profit                      January 16,   149387400                                  Non-
                                   Corporation                              2003                                                     Survivor


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      Case
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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                800290940                                 Entity Type:   Domestic Limited Liability Company (LLC)
 Original Date of Filing:      January 9, 2004                           Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17525416651                               FEIN:
 Duration:                     Perpetual
 Name:                         TCA Communications, L.L.C.
 Address:                      1 COURT SQUARE W FL 33 C/O TAX DEPARTMENT
                               LONG ISLAND CITY, NY 11101 USA

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   REGISTERED AGENT       FILING HISTORY          NAMES            MANAGEMENT       ASSUMED NAMES           ENTITIES         INITIAL ADDRESS

   Name                                                                                       Address                          Inactive Date
   Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company                211 E. 7th Street, Suite 620
                                                                                              Austin, TX 78701-3136 USA


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      Case
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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                         BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                800290940                                Entity Type:   Domestic Limited Liability Company (LLC)
 Original Date of Filing:      January 9, 2004                          Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17525416651                              FEIN:
 Duration:                     Perpetual
 Name:                          TCA Communications, L.L.C.
 Address:                       1 COURT SQUARE W FL 33 C/O TAX DEPARTMENT
                                LONG ISLAND CITY, NY 11101 USA

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   View     Document                                                                                                      Eff.     Page
   Image    Number          Filing Type                                  Filing Date             Effective Date           Cond     Count
            51297220001     Articles of Conversion                       January 9, 2004         January 9, 2004          No       4
             128404320004    Certificate of Assumed Business Name        May 3, 2006              May 3, 2006             No       2
             146538830002    Articles of Amendment                       October 3, 2006          October 3, 2006         No       3
             233935640010    Public Information Report (PIR)             December 31, 2007        December 31, 2007       No       2
             263586450001    Public Information Report (PIR)             December 31, 2008        June 25, 2009           No       2
             304522290986    Change of Name or Address by Registered     April 19, 2010           April 19, 2010          No       1
                             Agent
             369488710001    Public Information Report (PIR)             December 31, 2010        May 24, 2011            No       2
             462414590001    Public Information Report (PIR)             December 31, 2012        January 22, 2013        No       2
             518876226737    Change of Name or Address by Registered     December 2, 2013         December 2, 2013        No       1
                             Agent
             524780510001    Public Information Report (PIR)             December 31, 2013        January 15, 2014        No       2
             586555730001    Public Information Report (PIR)             December 31, 2014        January 14, 2015        No       1
             662281400001    Public Information Report (PIR)             December 31, 2015        March 23, 2016          No       4
             653140130001    Public Information Report (PIR)             December 31, 2015        January 31, 2016        No       4
             654540140003    Certificate of Assumed Business Name        February 3, 2016         February 3, 2016        No       2
             729604480001    Public Information Report (PIR)             December 31, 2016        April 20, 2017          No       2
             710025390002    Change of Registered Agent/Office           January 23, 2017         January 23, 2017        No       2
             785271720001    Public Information Report (PIR)             December 31, 2017        December 30, 2017       No       2
             1147264680001 Public Information Report (PIR)               December 31, 2021        May 10, 2022            No       2


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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
                                        BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
 Filing Number:                800290940                                 Entity Type:   Domestic Limited Liability Company (LLC)
 Original Date of Filing:      January 9, 2004                           Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17525416651                               FEIN:
 Duration:                     Perpetual
 Name:                         TCA Communications, L.L.C.
 Address:                      1 COURT SQUARE W FL 33 C/O TAX DEPARTMENT
                               LONG ISLAND CITY, NY 11101 USA

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   REGISTERED AGENT       FILING HISTORY          NAMES           MANAGEMENT       ASSUMED NAMES           ENTITIES        INITIAL ADDRESS

   Last Update              Name                              Title                       Address
   May 10, 2022             DEXTER GOEI                       CHIEF EXEC OFFICER          1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             ABDELHAKIM BOUBAZINW               PRESIDENT                  1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             ABDELHAKIM BOUBAZINW               CHIEF OPERATING            1 COURT SQUARE WEST ATT: TAX DEPT
                                                               OFFICER                    LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             MICHAEL OLSEN                      EXEC VP                    1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             MICHAEL GARU                       CHIEF FINANCIAL OFFICER 1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                       LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             MICHAEL OLSEN                      GENERAL COUNSEL            1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             MICHAEL OLSEN                      SECRETARY                  1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             COLLEN SCHMIDT                     EXEC VP                    1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA
   May 10, 2022             COLLEN SCHMIDT                     HUMAN RESOURCES            1 COURT SQUARE WEST ATT: TAX DEPT
                                                                                          LONG ISLAND CITY, NY 11101 USA


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      Case
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TEXAS SECRETARY of STATE
JOSE A. ESPARZA
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 Filing Number:                800290940                                Entity Type:   Domestic Limited Liability Company (LLC)
 Original Date of Filing:      January 9, 2004                          Entity Status: In existence
 Formation Date:               N/A
 Tax ID:                       17525416651                              FEIN:
 Duration:                     Perpetual
 Name:                         TCA Communications, L.L.C.
 Address:                      1 COURT SQUARE W FL 33 C/O TAX DEPARTMENT
                               LONG ISLAND CITY, NY 11101 USA

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   REGISTERED AGENT       FILING HISTORY          NAMES           MANAGEMENT        ASSUMED NAMES          ENTITIES        INITIAL ADDRESS

                                                                                                           Name
   Assumed Name                             Date of Filing       Expiration Date      Inactive Date        Status     Counties
   Suddenlink Communications                May 3, 2006          May 3, 2016          May 3, 2016          Expired    All Counties
   Suddenlink Communications                February 3, 2016     February 3, 2026                          Active     All Counties


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